                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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-
SPARTA    INSURANCE COMPANY                   :
(as successor in interest to Sparta Insurance
Holdings, Inc.),                              :

                       Plaintiff,               :    Civil Action
                                                     No. 21-11205-FDS
        v.                                      :

PENNSYLVANIA GENERAL INSURANCE :
COMPANY (now known as Pennsylvania
Insurance Company),                :

               Defendant.        :
---------------------------------x
-
                    TRANSMITTAL DECLARATION OF
          JAMES R. CARROLL IN SUPPORT OF PLAINTIFF SPARTA
   INSURANCE COMPANY’S MOTION FOR JUDGMENT ON THE PLEADINGS

                I, JAMES R. CARROLL, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

                1.     I am a member of the Bar of the Commonwealth of Massachusetts,

admitted to practice before this Court, and am an attorney with the law firm Skadden, Arps,

Slate, Meagher & Flom LLP, counsel for Plaintiff SPARTA Insurance Company (“SPARTA”) in

the above-captioned action.

                2.     I respectfully submit this declaration in support of SPARTA’s Motion for

Judgment on the Pleadings, and to provide the Court true and correct copies of the following

documents:


Exhibit                                        Document
             Stock Purchase Agreement, dated March 12, 2007, entered into by Pennsylvania
   1.        General Insurance Company, OneBeacon Insurance Company and SPARTA
             Insurance Holdings, Inc.
    Exhibit                                       Document
              Instrument of Transfer and Assumption, dated June 15, 2005, entered into by
      2.      Pennsylvania General Insurance Company and American Employers’ Insurance
              Company
              Emails between Amy Gallent (SPARTA) and Jeff Silver (PGIC), dated May-June
      3.
              2021
              Email between Joshua Weiner (SPARTA) and Jeff Silver (PGIC), dated June 23,
      4.
              2021
      5.      Letter from Joshua Weiner (SPARTA) to Jeff Silver (PGIC), dated July 26, 2021
              Letter from James R. Carroll (Skadden) to Samuel C. Kaplan (Boies Schiller), dated
      6.
              September 27, 2021
              Letter from Joshua Weiner (SPARTA) to Jeff Silver (PGIC), dated August 16, 2022,
      7.
              and excerpts from enclosed spreadsheets1

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on September 19, 2022, in Boston, Massachusetts.



                                                         /s/ James R. Carroll
                                                         James R. Carroll (BBO #554426)
                                                         SKADDEN, ARPS, SLATE,
                                                             MEAGHER & FLOM LLP
                                                         500 Boylston Street
                                                         Boston, Massachusetts 02116
                                                         (617) 573-4800
                                                         james.carroll@skadden.com

                                                         Counsel for Plaintiff
                                                         SPARTA Insurance Company




1
       Sensitive nonpublic information concerning specific claims made against policies issued
by American Employers’ Insurance Company (“AEIC”) has been redacted from the spreadsheets
included in Exhibit 7. SPARTA provided the unredacted spreadsheets to PGIC on August 16,
2022, and can provide an unredacted version of the document under seal upon regret of the
Court.

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